     Case 2:16-cr-00265-GMN-NJK            Document 418        Filed 09/19/17     Page 1 of 1



 1                                  UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3    UNITED STATES OF AMERICA,               )                  Case No. 2:16-cr-00265-GMN-CWH
                                              )
 4                Plaintiff,                  )
                                              )
 5          v.                                )
                                              )
 6    JOHN SIEMER,                            )                  ORDER
                                              )
 7                Defendant.                  )
                                              )
 8    _______________________________________ )
 9            Presently before the Court is Defendant John Siemer’s ex parte motion for outside medical
10    care (ECF No. 415), filed on September 18, 2017. Defendant requests that this Court order an
11    outside physician to treat Defendant’s medical problems. However, Defendant does not cite any
12    authorities in support of his motion. Under Local Criminal Rule 47-3, the failure of a moving party
13    to include points and authorities in support of a motion constitutes consent to denying the motion.
14            In addition, Defendant has filed this motion ex parte, but does not explain on what basis there
15    is a need for ex parte review. Under Local Rule IA 7-2, a party may not make an ex parte
16    communication with the court except as specifically permitted under the Local Rules or the Federal
17    Rules of Criminal Procedure. The Court notes that the motion contains information about
18    Defendant’s medical condition, but finds no authority for the motion’s ex parte status. The Court
19    will therefore seal Defendant’s motion but deny Defendant’s request for ex parte review.
20            IT IS THEREFORE ORDERED that Defendant’s motion for outside medical care (ECF No.
21    415) is DENIED without prejudice.
22            IT IS FURTHER ORDERED that the Clerk shall SEAL Defendant’s motion and STRIKE the
23    ex parte label.
24            DATED: September 19, 2017
25
26                                                           _________________________________
                                                             C.W. Hoffman, Jr.
27                                                           United States Magistrate Judge
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